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 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:22-CR-0140 WBS

12                                 Plaintiff,             AMENDED STIPULATION AND JOINT
                                                          REQUEST FOR PROTECTIVE ORDER;
13                           v.                           PROTECTIVE ORDER

14   LUIS ALFONSO VELARDE-LOPEZ,
     ARIVI LOPEZ-GAMEZ, and
15   FRANCISCO JAVIER GONZALES, JR.

16                                Defendants.

17

18                                              I.    STIPULATION

19          1.       Plaintiff United States of America, by and through its counsel of record, and defendants

20 Luis Alfonso Velarde-Lopez, Arivi Lopez-Gamez, and Francisco Javier Gonzales, Jr., by and through
21 their counsel of record (“Defendants” and “Defense Counsel”), for the reasons set forth below, hereby

22 stipulate, agree, and jointly request that the Court enter a Protective Order in this case restricting the use

23 and dissemination of certain materials that could identify undercover agents and/or confidential sources.

24          2.       This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of
25 Criminal Procedure, Local Rule 141.1, and its general supervisory authority.

26          3.       On June 23, 2022, the Grand Jury returned an indictment charging Defendants with

27 conspiracy to distribute and to possess with intent to distribute methamphetamine and fentanyl, in

28 violation of 21 U.S.C. §§ 846, 841(a)(1) (Count One), distribution of fentanyl, in violation of 21 U.S.C.

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 1 § 841(a)(1) (Count Two), and possession with intent to distribute methamphetamine and fentanyl, in

 2 violation of 21 U.S.C. § 841(a)(1) (Counts Three and Four). On August 3, 2022, the Defendants made

 3 their initial appearance on the indictment.

 4          4.       The government has tendered to the Defendants a discovery package consisting of

 5 various discovery materials. Not included within that discovery package are materials in the

 6 government’s possession consisting of audio recordings, video recordings, and photographs depicting

 7 and documenting controlled purchases by undercover agents and cooperating informants (“the

 8 recordings”). Although the government has not provided duplicate copies of the recordings, the

 9 government has made the recordings available for inspection but not duplication. The government has

10 not provided duplicate copies of the recordings because the recordings, if disseminated, could be used to

11 identify undercover officers and cooperating informants. Now, the government seeks to provide copies

12 of the recordings to Defense Counsel. The government seeks to do so to aid Defense Counsel and the

13 Defendants in the logistics of reviewing the recordings and to promote a prompt and just resolution of

14 the case.

15          5.       If the Court grants this stipulation and request, the government intends to produce

16 duplicate copies to Defense Counsel of the recordings. Hereinafter the recordings will be referred to as

17 “the Protected Materials” and subject to the Court’s Protective Order, if issued. The government will

18 mark the Protected Materials to distinguish materials subject to the Court’s Protective Order from the

19 other discovery materials which are not subject to the Court’s Protective Order.

20          6.       The parties seek to establish the procedures that must be followed by Defense Counsel,

21 any designated employees, and any other individual who receives access to the Protected Materials in

22 this case and the information therein.

23          7.       The government proposes that it produce duplicate copies of the Protected Materials to

24 Defense Counsel by marking them as “Protected Materials,” and by designating the discovery with the

25 bates prefix, “VELARDE-LOPEZ_PM_.” The government further proposes that this discovery, and any

26 subsequent material tendered by the government to Defense Counsel using the bates-prefix, shall be

27 subject to the Court’s Protective Order, if issued. Additionally, the government and Defense Counsel

28 / / /

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 1 request that the Court enter an order directing that the Protected Materials be handled pursuant to the

 2 following conditions:

 3                 a.      Defense Counsel shall not give the Protected Materials to any person other than

 4 Defense Counsels’ staff assisting in preparation of the present case. The term “staff” shall include only

 5 attorneys, paralegals, legal assistants, retained experts, and investigators assisting Defense Counsel in

 6 the present matter. The term “staff” excludes the following: any other defendant in this matter or any

 7 other pending matter against the Defendant; any person involved in any case in which discovery

 8 concerning the Defendant is produced; and any other person other than those specifically authorized to

 9 see the Protected Materials under this paragraph.

10                 b.      Any person receiving access to the Protected Materials from Defense Counsel

11 shall be bound by the same obligations as Defense Counsel and, further, may not share the Protected

12 Materials with other persons who are not “staff” assisting in the defense.

13                 c.      No members of any of a Defendants’ family, friends of a Defendant, personal or

14 professional associates of a Defendant, or any other person affiliated with a Defendant shall be given

15 access to the Protected Materials or contents thereof in any manner, for any reason.

16                 d.      Defense Counsel may make copies of the Protected Materials and may take

17 written or typed notes summarizing the Protected Materials in connection with preparation of the case.

18 If necessary to the litigation of the instant matter, Defense Counsel may also have audio or video forms

19 of the Protected Materials transcribed. All copies, duplicates, notes and summaries that describe

20 confidential informants and undercover officers, transcripts, or other representations of or concerning
21 the information in the Protected Materials comprises “Protected Materials” itself, must be affixed with

22 the corresponding bates numbers, and is subject to all terms of the Court’s Protective Order. Any notes

23 or summaries that do not include descriptions of confidential sources or undercover officers are not

24 considered “Protected Materials,” and may be provided to Defendants.

25                 e.      Defense Counsel shall maintain a list of persons to whom the Protected Materials

26 are being or have been given. Such persons shall be provided with a copy of the Court’s Protective

27 Order, shall sign their full names to a copy of the Court’s Protective Order acknowledging that they

28 understand its terms and are bound by it. If Defense Counsel is replaced for any reason, or if new

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 1 counsel is appointed in any phase of the matter, the new counsel shall not have access to the Protected

 2 Materials until and unless they sign a copy of the Court’s Protective Order, under the terms described in

 3 this paragraph.

 4                   f.    Defense Counsel may use the Protected Materials in the defense of a Defendant in

 5 the instant case in any manner necessary for effective representation (i.e., in motions that are filed under

 6 seal, if necessary; in ex-parte applications as may be needed; and in reproducing and summarizing the

 7 Protected Materials for use in trial preparation summaries, exhibits, and as evidence, as may be needed),

 8 consistent with the Court’s Protective Order as it shall be originally prepared and signed.

 9                   g.    In the event Defense Counsel needs to use the Protected Materials in a manner not

10 authorized under the Court’s Protective Order, Defense Counsel is entitled to seek to have the Protective

11 Order amended by the Court, after having given notice to the government.

12                   h.    Defense Counsel and any authorized members of Defense Counsels’ staff are

13 authorized to review with a Defendant the contents of the Protected Materials. Defense Counsel and

14 authorized members of Defense Counsels’ staff, however, are prohibited from giving a Defendant the

15 Protected Materials. This prohibition will not extend to a Defendant viewing the Protected Materials

16 under Defense Counsels’ supervision or prohibit the use of the Protected Materials in open court should

17 any of these materials or summaries thereof be used in the litigation of this case.

18                   i.    Defense Counsel is authorized to show copies of the Protected Materials to

19 potential witnesses in this case. Defense Counsel is prohibited, however, from giving any potential

20 witness the Protected Materials or any memorialization of the content of the Protected Materials or
21 allowing any potential witness to make a copy or in any way memorialize the contents of the Protected

22 Materials.

23                                      [CONTINUED ON NEXT PAGE]

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 1          WHEREFORE, the government and the Defendants respectfully request that the Court enter an

 2 order, directing that the Protected Materials be handled pursuant to the restrictions outlined above.

 3                                                           Respectfully Submitted,

 4   Dated: November 8, 2022                                 PHILLIP A. TALBERT
                                                             United States Attorney
 5

 6                                                    By: /s/ ROBERT C. ABENDROTH
                                                          ROBERT C. ABENDROTH
 7                                                        Assistant United States Attorney
 8                                                           Attorney for the government
 9

10   Dated: November 8, 2022                                 /S/ MEGHAN McLOUGHLIN
                                                             MEGHAN McLOUGHLIN
11                                                           Counsel for Luis Alfonso Velarde-Lopez
12

13   Dated: November 8, 2022                                 /S/ KYLE RODGER KNAPP
                                                             KYLE RODGER KNAPP
14                                                           Counsel for Arivi Lopez-Gamez
15

16   Dated: November 8, 2022                                 /S/ MARK JOSEPH REICHEL
                                                             MARK JOSEPH REICHEL
17                                                           Counsel for Francisco Javier Gonzales, Jr.
18

19                                         FINDINGS AND ORDER
20          The Court having read and considered the Stipulation and Joint Request for a Protective Order,
21 which this Court incorporates by reference into this Order in full, hereby finds that GOOD CAUSE

22 exists to enter the above Order.

23          IT IS SO FOUND AND ORDERED
24 Dated: November 9, 2022

25                                                   _____________________________________
                                                     CAROLYN K. DELANEY
26                                                   UNITED STATES MAGISTRATE JUDGE

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